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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 CRESCIT MORTGAGE CAPITAL, LLC,
                                  Plaintiff,

                         v.                                        22-CV-10263 (DEH)

 EMERALD BAY APARTMENTS, LLC, et al.,                                    ORDER
                                  Defendants.



DALE E. HO, United States District Judge:

       On April 25, 2024, the Court granted former Defendants’ counsel motion for withdrawal.

See ECF No. 69. The Court directed Defendants’ replacement counsel to “a notice of

appearance for Defendants and/or Defendant Robison shall file a notice of pro se appearance if

he decides to proceed pro se” by May 24, 2024. See ECF No. 69. To date, a replacement

counsel has not filed a notice.

       Accordingly, Defendant Robinson shall file a notice of pro se appearance by July 22,

2024, and provide the Court with your current mailing and email address, available at:

https://www.nysd.uscourts.gov/node/826.

       The Clerk of Court is respectfully directed to mail copies of this Order to Defendant at

the following addresses:

               Christopher S. Robison                       Emerald Bay Apartments, LLC
               114 Channel Road                             20 Jack and Jill Place, #181
               Eastsound, WA 98245                          Deer Harbor, WA 98243-4008



       SO ORDERED.

Dated: July 1, 2024
       New York, New York
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                                                  DALE E. HO
                                           United States District Judge




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